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                EXHIBIT A
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Stameshkin, Liz

From:                 Stameshkin, Liz
Sent:                 Monday, September 30, 2024 3:25 PM
To:                   Hartnett, Kathleen; Holden Benon; Ghazarian, Colette A; Lauter, Judd; Christopher Young; Aaron Cera;
                      Cadio Zirpoli; Joseph Saveri; Margaux Poueymirou; Ashleigh Jensen; Rya Fishman; Matthew Butterick;
                      Nada Djordjevic; James Ulwick; Bryan L. Clobes; Mohammed Rathur; Amy Keller; David Straite; Ruby
                      Ponce; Alexander Sweatman; Heaven Haile; Llama_BSF@bsfllp.com; jischiller@bsfllp.com;
                      dboies@bsfllp.com; jpanuccio@bsfllp.com; mpritt@bsfllp.com
Cc:                   Poppell, Cole A; Dunning, Angela L.; Ghajar, Bobby A.; Biksa, Liene; Alvarez, Jessica; mlemley@lex-
                      lumina.com; Weinstein, Mark; z/Meta-Kadrey
Subject:              RE: Kadrey v. Meta - Proposal regarding reproduction of documents


Counsel,

As an exception to our normal processes and for this specific matter, without waiver, and in a further attempt to obviate
any ongoing discovery dispute over this issue (including as to briefing today) we are prepared to offer the following as a
compromise:

      •   For Google Suite .docx files, which we believe comprises the type of document you have requested re-
          review/re-production of in the motion being filed today, we originally produced those in TIFF. In view of your
          questions about some of the Google Suite files, we are prepared to produce those files with comments where
          comment authors/full text is not showing in the TIFFs as produced, and that do not have redactions, in native
          format.
      •   For the Google Suite .docx files with comments where comment authors/full text is not showing in the TIFFs as
          produced that have redactions, we are working with our vendor to locate a custom solution in an attempt to
          provide you with additional information for these files.
      •   To the extent there are other specific files that you believe require native or specialized production, we are
          happy to discuss with you as per the relevant provisions of the ESI Order.

Best,

Liz

From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Monday, September 30, 2024 9:47 AM
To: Holden Benon <hbenon@saverilawfirm.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Lauter, Judd
<jlauter@cooley.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>;
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Cc: Poppell, Cole A <CPoppell@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Biksa, Liene <lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-
lumina.com; Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-Kadrey

                                                             1
                 Case 3:23-cv-03417-VC Document 190-5 Filed 10/01/24 Page 3 of 9

<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing (Discovery Letter Brief)

Thank you, Holden. This works for us.

Thanks,
Kathleen

From: Holden Benon <hbenon@saverilawfirm.com>
Sent: Monday, September 30, 2024 9:14 AM
To: Hartnett, Kathleen <khartnett@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Lauter, Judd
<jlauter@cooley.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>;
Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Margaux Poueymirou
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Cc: Poppell, Cole A <CPoppell@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Biksa, Liene <lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-
lumina.com; Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing (Discovery Letter Brief)

[External]

Kathleen—Below is a further proposed briefing schedule for today. This is largely based on the schedule
Judd initially proposed.

If we can get Meta’s agreement before then, then we can compromise to make 10am work:

    •   On or before 10:00 am – Plaintiffs will provide their statement.

    •   On or before 6:00 pm – Meta will provide its statement, along with all declarations and/or exhibits it will
        rely on.

    •   On or before 8:00 pm –Plaintiffs will complete revisions to their statement, if any, along with all
        declarations and/or exhibits they will rely on.

    •   On or before 9:00 pm – Meta will provide further revisions, if any, or its approval to file.

    •   On or before 10:30 pm – The parties will make best efforts to finalize and file the letter.

(As I noted below, the initial draft will have citations and references to the evidentiary support we’ll be
relying on—we just need time to prepare the exhibits and we can share those in the evening. We reserve
the right to add additional evidentiary support in responding to Meta’s position.)

Please let us know if this works for your team.

                                                             2
                Case 3:23-cv-03417-VC Document 190-5 Filed 10/01/24 Page 4 of 9

From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Monday, September 30, 2024 8:58 AM
To: Holden Benon <hbenon@saverilawfirm.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Lauter, Judd
<jlauter@cooley.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>;
Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Margaux Poueymirou
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Cc: Poppell, Cole A <CPoppell@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>; Ghajar, Bobby A.
<bghajar@cooley.com>; Biksa, Liene <lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-
lumina.com; Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing (Discovery Letter Brief)


Thank you, Holden – we agree re 10 pages and sorry re the error there!

Kathleen

From: Holden Benon <hbenon@saverilawfirm.com>
Sent: Sunday, September 29, 2024 11:20 PM
To: Hartnett, Kathleen <khartnett@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Lauter, Judd
<jlauter@cooley.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>;
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lumina.com; Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing (Discovery Letter Brief)

[External]

Thanks, Kathleen. We disagree with those characterizations and we’ll respond to Meta’s position on
timing in due course.

Regarding the page limitation, the Court was quite clear that the brief can be up to ten pages. 9/25 Hr’g
Tr. at 26:18-22 (“Then I order the parties to file a joint discovery letter brief discussing the issues that
were raised at this hearing today by Monday, September 30th, and the joint discovery letter brief should
be no more than 10 pages, with five pages per side.”).

                                                         3
                    Case 3:23-cv-03417-VC Document 190-5 Filed 10/01/24 Page 5 of 9


From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Sunday, September 29, 2024 11:04 PM
To: Holden Benon <hbenon@saverilawfirm.com>; Ghazarian, Colette A <cghazarian@cooley.com>; Lauter, Judd
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Cc: Poppell, Cole A <CPoppell@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>; Ghajar, Bobby A.
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lumina.com; Weinstein, Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing (Discovery Letter Brief)


Holden,

Thanks for your email. We disagree that the process for our prior briefs was adequate. Among other things, in
connection with prior joint letter briefs, Plaintiffs have significantly pivoted from earlier positions and presented
new arguments and documents for the first time after Meta had prepared a statement addressing what it
understood Plaintiffs position to be. As such, we think it makes sense for the moving party to submit their section
first so that the opposing party knows what they are responding to. This is how the process for filing a joint
discovery letter would normally be conducted, and, in fact, was the procedure adopted on Meta’s first motion to
compel, when Plaintiffs provided their statement 12 days after receiving Meta’s. We look forward to your section
tomorrow and will send you our draft response as soon as we’re able thereafter. To make sure we’re on the same
page, we’re planning for an 8-page brief in total.

Thanks,
Kathleen

Kathleen R. Hartnett
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+1 415 693 2222 fax
+1 202 368 5916 mobile
khartnett@cooley.com
www.cooley.com/people/kathleen-hartnett
Pronouns: she, her, hers




From: Holden Benon <hbenon@saverilawfirm.com>
Sent: Sunday, September 29, 2024 8:29 PM
To: Ghazarian, Colette A <cghazarian@cooley.com>; Lauter, Judd <jlauter@cooley.com>; Christopher Young
<cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>;
Joseph Saveri <jsaveri@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Rya Fishman <rfishman@saverilawfirm.com>; Matthew Butterick

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                Case 3:23-cv-03417-VC Document 190-5 Filed 10/01/24 Page 6 of 9

<mb@buttericklaw.com>; Nada Djordjevic <ndjordjevic@dicellolevitt.com>; James Ulwick <Julwick@dicellolevitt.com>;
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<lstameshkin@cooley.com>; z/Meta-Kadrey <zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing (Discovery Letter Brief)

[External]

Colette,

Thanks for your email. Meta has not explained how its proposal would be an improvement on the process
for the prior joint letter briefs, nor has it explained why the briefs that were prepared earlier this month
under the simultaneous exchange approach created any issues. In fact, Meta agreed to follow the
simultaneous exchange approach when briefing the motion for a protective order regarding the
deposition Mark Zuckerberg, a motion brought by Meta. No one from your team raised any complaint
with that process. There is nothing to suggest the process was anything but cooperative and orderly.

We’ve been working diligently on our initial draft so that it can be ready to circulate as soon as possible;
however, it’s unlikely we will be in a position to circulate before 12pm tomorrow.

As for our proposal that the parties provide exhibits with their revised statements, the vast majority of the
substantive factual material that we’ll rely on will be referenced in the initial draft that we’d circulate at
12pm tomorrow. The exhibits that we may submit in the next exchange would simply provide support for
this. Plaintiffs reserve the right to point to additional factual support to address arguments contained in
Meta’s initial statement.

Thanks,
Holden


From: Ghazarian, Colette A <cghazarian@cooley.com>
Sent: Friday, September 27, 2024 3:14 PM
To: Holden Benon <hbenon@saverilawfirm.com>; Lauter, Judd <jlauter@cooley.com>; Christopher Young
<cyoung@saverilawfirm.com>; Aaron Cera <aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>;
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                                                        5
                      Case 3:23-cv-03417-VC Document 190-5 Filed 10/01/24 Page 7 of 9

<lstameshkin@cooley.com>; z/Meta-Kadrey <zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing


Holden,

Our proposed schedule is intended to align more closely with standard motion practice, and we consider it an
improvement on the process for the prior joint letter briefs. We also have concerns with Plaintiffs’ proposal that
the parties provide their complete sets of evidentiary support with their revised statements. As Plaintiffs are
bringing this motion, Meta must know Plaintiffs’ positions before it can respond to them.

As an offer of compromise, we would be willing to adjust the schedule so that Plaintiffs provide their statement
Sunday evening and Meta provides its portion earlier on Monday (by 3pm), to provide additional time for revisions:

     1. On or before 7:00 pm on Sunday, September 29 – Plaintiffs will provide their statement, along with all
        declarations and/or exhibits they will rely on.

     1. On or before 3:00 pm on Monday, September 30 – Meta will provide its statement, along with all
        declarations and/or exhibits it will rely on.

     1. On or before 5:00 pm on Monday, September 30 –Plaintiffs will complete revisions to their statement, if
        any.

     1. On or before 7:00 pm on Monday, September 30– Meta will provide further revisions, if any, or its
        approval to file.

     1. On or before 9:00 pm on Monday, September 30 – The parties will make best efforts to finalize and file the
        letter.

Please let us know if this is agreeable to Plaintiffs.

Thank you,
Colette

Colette Ghazarian
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Wells Fargo Center, South Tower
355 South Grand Avenue, Suite 900
Los Angeles, CA 90071-1560
+1 213 561 3222 office
+1 213 561 3244 fax
cghazarian@cooley.com

Pronouns: she, her, hers

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Cooley is committed to racial justice




From: Holden Benon <hbenon@saverilawfirm.com>
Sent: Friday, September 27, 2024 1:02 PM
To: Lauter, Judd <jlauter@cooley.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>;
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                Case 3:23-cv-03417-VC Document 190-5 Filed 10/01/24 Page 8 of 9

<ndjordjevic@dicellolevitt.com>; James Ulwick <Julwick@dicellolevitt.com>; Bryan L. Clobes
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<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta - Planning for Monday's filing

[External]

Judd,

Our counter proposal is attached. This proposal is more in line with how the parties conducted the last
round of joint letter briefs following the telephonic conference with Judge Hixson earlier this month. We
can all agree that process worked smoothly.

Holden




From: Lauter, Judd <jlauter@cooley.com>
Sent: Friday, September 27, 2024 11:28 AM
To: Holden Benon <hbenon@saverilawfirm.com>; Christopher Young <cyoung@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>;
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Mark <mweinstein@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: Kadrey v. Meta - Planning for Monday's filing


Counsel,

In advance of the parties’ joint letter on Monday, and to ensure an orderly exchange of statements, we propose
that the parties informally agree to a schedule ahead of time. To that end, we propose the following.

   1. On or before 9:00 am – Plaintiffs will provide their statement, along with all declarations and/or exhibits
      they will rely on.

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     1. On or before 5:00 pm – Meta will provide its statement, along with all declarations and/or exhibits it will
        rely on.

     1. On or before 6:30 pm –Plaintiffs will complete revisions to their statement, if any.

     1. On or before 7:30 pm – Meta will provide further revisions, if any, or its approval to file.

     1. On or before 9:00 pm – The parties will make best efforts to finalize and file the letter.

Please let us know if Plaintiffs agree. Otherwise, if Plaintiffs have other ideas, please let us know what you have in
mind.

Best regards,
Judd

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